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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA ex rel.
STEVEN SCOTT,

              Plaintiff,                        Underlying Action:
                                                No. 3:18-cv-00061-GNS-CHL
       v.                                       United States District Court
                                                Western District of Kentucky
HUMANA INC.,
500 West Main Street
Louisville, KY 40202

              Defendant.



HUMANA INC.’S MOTION AND MEMORANDUM OF POINTS AND AUTHORITIES
   IN SUPPORT OF MOTION TO COMPEL NONPARTY THE CENTERS FOR
  MEDICARE AND MEDICAID SERVICES TO COMPLY WITH SUBPOENAS
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       Pursuant to Federal Rule of Civil Procedure 45, Defendant Humana Inc. (“Humana”)

moves this Court to compel the Centers for Medicare and Medicaid Services (“CMS”) to comply

with the subpoenas for documents and testimony issued in connection with this action, which is

pending in the United States District Court for the Western District of Kentucky. As set forth

below, Humana requires documents and testimony from CMS in order to defend itself against a

qui tam complaint alleging False Claims Act (“FCA”) violations in connection with Medicare

Part D bids that Humana submitted to CMS. In June 2018, Humana requested documents and

testimony from CMS pursuant to 45 C.F.R. §§ 2.1–2.6. For over five months, Humana has

conferred with the agency in an effort to reach a mutually agreeable production of responsive

documents and testimony. Because CMS has not agreed to provide fully the requested discovery

and Humana has exhausted its best efforts to resolve the agency’s objections, Humana moves

this Court for an order compelling the production of documents and testimony requested in

Humana’s June 4, 2018 correspondence and accompanying subpoenas (the “Touhy Request”).

                                       BACKGROUND

       A.      The Underlying Action

       In January 2016, Relator Steven Scott (“Relator”) filed a sealed complaint against

Humana alleging FCA violations in connection with the Walmart Plan, Humana’s basic

Medicare Part D prescription drug plan (“PDP”). Complaint (“Compl.”) ¶ 80 (DN 1), No. 3:18-

cv-00061-GNS-CHL (W.D. Ky. filed Jan. 19, 2016). To offer a PDP, a plan sponsor like

Humana must submit a bid to CMS. If CMS approves the bid, the plan sponsor then contracts

with the agency to offer prescription drug benefits to Medicare beneficiaries during the following

calendar year. Relator contends that Humana’s bids for the Walmart Plan contained knowingly

false actuarial assumptions about the future rate at which Walmart Plan members, and especially

low-income members, would use pharmacies in the plan’s preferred network. Id. ¶ 6.
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       Part D program requirements and CMS decision-making lie at the heart of Relator’s FCA

allegations: to receive CMS approval, a bid for a PDP like the Walmart Plan must describe

prescription drug benefits that are “actuarially equivalent” to the defined standard Part D benefit.

Id. ¶ 4. Relator alleges that, as a result of supposedly false assumptions about preferred

pharmacy utilization by beneficiaries, Humana’s bids for 2011 through 2017 falsely represented

that the Walmart Plan would be actuarially equivalent to the defined standard. See id. ¶¶ 128-

190. Specifically, he contends that “unrealistic” assumptions about the rate at which Walmart

Plan members would use less expensive preferred pharmacies enabled Humana to overstate the

average percentage of drug costs the plan would cover and understate the average coinsurance

for which plan members would be responsible— thereby falsely representing that the Walmart

Plan would cover an actuarially equivalent 75 percent of anticipated drug costs in the initial

coverage limit (“ICL”) phase of prescription drug coverage, with members responsible for 25

percent. Id. ¶¶ 5-9. Had CMS known of these false assumptions, Relator contends, “it would

not have approved or renewed Humana’s Part D contract,” id. ¶¶133, 192—and would not have

paid Humana under its contract, id. ¶ 194.

       B.      Humana’s Efforts To Negotiate CMS’s Subpoena Compliance

       Because the PDP approval process is central to Relator’s allegations, Humana issued

subpoenas for documents and testimony to CMS on June 4, 2018. See Declaration of Amanda

M. Santella (“Santella Decl.”), Ex. A (“Touhy Request”). Humana’s accompanying requests

complied with 45 C.F.R. §§ 2.1–2.6, which contain the Touhy regulations issued by the United

States Department of Health and Human Services (“HHS”), of which CMS is a component. The

subpoenas sought documents and testimony concerning CMS’s evaluation of PDP bids, its

payment to PDP plan sponsors, and information sufficient to show CMS’s considerations in

selecting PDPs and making payments to sponsors of PDPs that offer actuarially equivalent


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coverage. In light of the November 2, 2018 fact discovery deadline in the underlying action at

that time, 1 Humana’s subpoena for documents required compliance by July 6, 2018, and its

subpoena for testimony required compliance by August 3, 2018. Touhy Request at 15-16. Both

subpoenas required compliance at the Washington, D.C. offices of Humana’s outside counsel.

Id.

        The parties met and conferred on July 5 to discuss CMS’s responses and objections in

anticipation of the subpoenas’ compliance deadlines. Santella Decl. Ex. B (July 16, 2018 Letter

from A. Santella to J. Abrams). During a second meet-and-confer discussion on July 23, CMS

represented that it anticipated responding to certain subpoena requests in August and

commencing a rolling production in response to other requests in September. Santella Decl. Ex.

C (July 30, 2018 Letter from A. Santella to J. Abrams). CMS also represented that the agency’s

“response to [Humana’s] request for testimony [was] proceeding separately. Id. at 5.

        On August 3, CMS informed Humana that it would not authorize testimony in response

to the subpoena. Santella Decl. Ex. D (Aug. 3, 2018 Letter from P. Spitalnic to D. Leviss). This

refusal was, at least in part, based on CMS’s assertion that the documents it would produce in

response to Humana’s document requests would “address a significant majority, if not all, of the

topics” Humana had outlined for testimony. Id. at 2. CMS also indicated that it would consider

supplementing its production through declarations. Id. at 3. While reserving its right to pursue

enforcement of the subpoena for testimony, Humana agreed to defer seeking judicial relief until

it had an opportunity to review the documents produced by CMS in response to the document

subpoena. Santella Decl. Ex. E (Oct. 18, 2018 Letter from A. Santella to J. Abrams).



1
 On July 30, 2018 the district court entered an order modifying the case management schedule. Order on
Telephonic Status Conference, U.S. ex rel. Scott v. Humana, No. 3:18-cv-61-GNS (July 30, 2018). The court set
January 18, 2019 as the new deadline for the close of fact discovery. Id. at 2.


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       Since then, Humana met and conferred with CMS on multiple occasions, stressing that it

could only assess the need for the noticed testimony if CMS made timely document productions

and fully complied with Humana’s subpoena by the end of September. Santella Decl. Ex. E at 1.

On an August 30 telephonic conference, CMS indicated its optimism that production would in

fact be complete by the close of September. Id., see also Santella Decl. Ex. F (Sept. 10, 2018

Letter from A. Santella to J. Abrams). But CMS produced no documents in September. On

October 11, CMS produced documents for the first time. The production was responsive to one

of Humana’s fourteen requests, but in an accompanying letter, CMS represented that it had not

identified responsive documents to at least four additional requests (Request Nos. 1, 4, 6 (b), (c)

and (d), 8 and 9). See Santella Decl. Ex. G (Oct. 12, 2018 Letter from J. Abrams to D. Leviss).

CMS followed this initial production with the delivery of select additional documents on October

18 and November 5; however, each of these rolling productions was incomplete. Santella Decl.

¶ 20. At present, more than five months after Humana served its subpoenas, CMS has produced

no documents in response to five of Humana’s document requests despite assuring Humana that

its document production would obviate the need for deposition testimony—and several of

Humana’s other requests remain unsatisfied. Santella Decl. ¶¶ 29, 30.

       C.      CMS’s Rejection Of A Stipulated Protective Agreement

       CMS has withheld documents responsive to several of Humana’s requests on the basis of

its asserted need for a protective order. Santella Decl. ¶ 31. Humana explained to CMS that the

Magistrate Judge presiding over the underlying action disfavors the entry of protective orders

and instead asks parties and nonparties alike to address the protection of sensitive information

through stipulated protective agreements, such as the one to which Humana, Relator, and other

nonparties to the action have already agreed. Santella Decl. ¶ 32. When CMS nonetheless

insisted that it would not produce certain documents unless the court itself entered a protective


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order, Humana negotiated an agreed protective order acceptable to all parties and to CMS, and

filed an unopposed motion seeking entry of that order. Despite Humana’s efforts to negotiate an

acceptable protective order, and its offer to abide by the proposed order while it was pending

approval by the court, CMS has refused produce provisional copies of documents to Humana’s

counsel unless and until the protective order is entered. Santella Decl. ¶ 34.

       On November 8, 2018, Magistrate Judge Colin Lindsay held a telephonic conference to

resolve several discovery disputes, including the unopposed motion for the agreed protective

order CMS had requested. Santella Decl. ¶ 35; see generally Santella Decl. Ex. K (Nov. 8, 2018

Hr’g Tr. at 17:9-23:7). Despite Humana’s request that CMS join the conference to explain its

need for the protective order, CMS opted not to participate. Id. At the conference, Magistrate

Judge Lindsay reiterated his preference for protective agreements, declined to enter the order,

questioned CMS’s decision not to participate, and suggested that Humana proceed with a motion

to compel production in compliance with its subpoenas. Ex. K at 21:13-22:24.

       D.      The Outstanding Requests Subject To Motion

       CMS appears to have satisfied Requests Nos. 6(a) and 7 and has represented that it has no

documents responsive to Requests Nos. 1, 4, 6(b), (c) and (d), 8, and 9. CMS has provided

partial responses to the remainder of Humana’s requests, and in many cases has produced no

documents at all. Humana’s outstanding requests fall into seven categories:

       Documents Concerning CMS’s Rejections/Questions of PDP Bids (Requests Nos. 2

and 3). Humana’s first three requests sought information concerning the circumstances under

which CMS has questioned PDP sponsors, or rejected their bids altogether, based on a plan’s

assumed or actual preferred pharmacy utilization, membership, low-income membership, and/or

average member coinsurance in the ICL phase. CMS fully responded to Request No. 1 by

indicating that it has no responsive documents, but the agency has provided an incomplete


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response to Request No. 2 and no response at all to Request No. 3.

       Request No. 2 seeks documents sufficient to show CMS’s questions to PDP sponsors

based on actual or assumed preferred utilization, low-income membership, and/or average

member coinsurance in the ICL phase. Request No. 3 seeks documents sufficient to show the

reasons why CMS rejected any PDP bids, or questioned any PDP sponsors, based on the plans’

assumed or actual preferred pharmacy utilization, membership, low-income membership, and/or

average member coinsurance in the ICL phase. Such documents bear directly on Relator’s

contention that CMS would have rejected Humana’s Walmart Plan bids or denied payments

under its Walmart Plan contracts had it known that Humana’s assumptions about preferred

pharmacy utilization, low-income membership, and/or the average member coinsurance in the

ICL phase were false. See, e.g., Compl. ¶¶192-94.

       To accommodate CMS’s objection that Request No. 2 was unduly burdensome, Humana

agreed to accept provisionally a “sampling” of anonymized responsive questions. Santella Decl.

Ex. E at 2–3. On September 24, CMS stated it would produce the documents “immediately.” Id.

On October 9, CMS changed its position and raised a new “statutory issue” that the agency

claimed required entry of a protective order before it could produce information responsive to

Request No. 2. Id.; see also pp. 4-5, supra. On November 5, 2018, CMS made its third

production of documents including some documents responsive to Request No. 2, but none

responsive to Request No. 3. Santella Decl. ¶ 24. To date, CMS has produced no documents in

response to Request No. 3, insisting that it requires a protective order and/or “attorneys-eyes

only” specification before it will do so. Santella Dec. Ex. E at 2-3.

       Documents Showing Certain Metrics from Worksheet 1 of Part D Bid Pricing Tool

(Request No. 5). This request seeks targeted actual experience data submitted to CMS by PDP




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sponsors in the first worksheet of their Part D bids, which reflects a PDP’s actual experience

during a “base year” two years prior to the year in which the plan sponsor seeks to offer

prescription drug coverage. Like the documents sought by Requests Nos. 2 and 3, this data bears

directly on Relator’s contention that CMS would have rejected Humana’s bids had it known that

the certain assumptions in the bids were false. See Compl. ¶¶ 192-94. Humana recognized that

the responsive data could be competitively sensitive, so the document production instructions

accompanying the subpoena specifically ask that the information be produced in an anonymous

manner such that it is impossible to identify the plan sponsor that produced the data to CMS. In

July, CMS indicated that documents responsive to this request would require a protective order,

see Ex. E at 4, even though Humana narrowly tailored the request to seek discrete and

anonymized data whose disclosure would not cause competitive harm to other PDPs. In August,

CMS reversed course and stated that it was prevented from disclosing the requested data

altogether under Section 1860D-15(f)(2) of the Social Security Act and possibly under the Trade

Secrets Act. Id.

       Despite Humana’s request that CMS memorialize its objections in a formal letter so

Humana could evaluate them, and notwithstanding CMS’s representation that it would do so,

Humana has received no further explanation of CMS’s objection to producing documents in

response to this request. Nevertheless, Humana has explained to CMS that neither the Social

Security Act nor the Trade Secrets Act bars discovery of such information in litigation under

Rule 26. Santella Decl. Ex. H (Nov. 1, 2018 Letter from A. Santella to J. Abrams). CMS later

represented that it is giving Humana’s position “careful consideration,” but it has not committed

to producing any information in response to Request No. 5. Santella Decl. Ex. I (Nov. 1, 2018

Email Correspondence from J. Abrams to A. Santella).




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       Documents Showing How CMS Assigns Low-Income Members To PDPs (Request

No. 10). CMS automatically enrolls certain low-income members in PDPs offering prescription

drug coverage with a premium at or below an amount known as the “low-income benchmark.”

See Compl. ¶¶ 40, 172. Request No. 10 seeks documents sufficient to show CMS’s policies and

procedures concerning the assignment of low-income members to PDPs, which would be

probative of Relator’s allegation that Humana underestimated the Walmart Plan’s future low-

income membership by misrepresenting that its premium was likely to exceed the low-income

benchmark. See id. ¶ 172. CMS’s initial document production contained publicly available

portions of the Federal Register and Medicare Part D Manual that the agency represented were

responsive to Request No. 10, but the agency has refused to produce additional documents in

response to this request absent a protective order. Santella Decl. Ex. G.

       Documents Concerning CMS Requirements That PDP Sponsors Explain Certain

Differences Between Actual Experience and Bid Assumptions When Submitting Bids

(Requests Nos. 11 and 12). These requests concern CMS’s requirement that PDP bids address

certain differences between the plan’s actual experience and prior assumptions: Request No. 11

seeks documents regarding CMS’s decision to require that plan sponsors explain three specified

differences but not others, and Request No. 12 seeks documents sufficient to show why PDP bids

must demonstrate consistency between the plan sponsor’s actual corporate returns and the

corporate margin its bids assumed. Such documents are probative of the materiality of various

PDP bid assumptions in the CMS bid approval and payment process. They bear directly on

Relator’s contention that the agency would have rejected Humana’s bids, and not paid Humana,

had it known that Humana’s bid assumptions concerning preferred pharmacy utilization, low-

income membership, and/or member coinsurance were false. See Compl. ¶¶192-94.




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       Despite indicating that it would produce responsive documents by mid-to-late September,

CMS has produced no documents responsive to these requests. See Ex. E at 6. On November 5,

CMS stated for the first time that it would withhold the few responsive documents it had

identified based on the deliberative process privilege. Santella Decl. Ex. J (Nov. 5, 2018 Email

Correspondence from J. Abrams to D. Leviss). CMS stated that it was willing to produce written

testimony in response to these requests, see id.—but even if “written testimony” were permitted

by the Federal Rules and an adequate substitute for the documents Humana seeks, CMS has

offered no such testimony to date. Santella Decl. ¶ 27. Nor has the agency produced a privilege

log or provided formal written correspondence detailing the basis for its assertion of the

deliberative process privilege. Santella Decl. ¶ 28.

       Documents Concerning Third Party Consultants CMS Retained (Request No. 13).

This request seeks documents sufficient to show the identity of third-party consultants hired by

CMS to evaluate Humana’s bids for the Walmart Plan. Such consultants may be fact witnesses

in the underlying litigation. After partially responding to this request in August for only some of

the Walmart Plan’s bids, and after Humana identified that deficiency, CMS indicated that it had

identified additional information responsive to this request—but to date, the agency has not

supplemented its incomplete response. Santella Decl. ¶ 21.

       Documents Concerning The Complaint’s Allegations (Request No. 14). This request

seeks all documents concerning the allegations in Relator’s complaint. Although CMS has

speculated that any responsive documents are likely to be privileged, it has not confirmed this

fact to date or produced a privilege log that would enable Humana to evaluate the basis of any

privilege assertion. Santella Decl. ¶ 28.




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       Deposition Testimony. Humana’s subpoena seeks testimony from CMS concerning

eight narrowly tailored topics: (1) the process by which CMS conducts “desk reviews” of Part D

bids; (2) the process CMS uses to evaluate PDP bids; (3) CMS’s rejection of any PDP bids based

on actual or assumed preferred pharmacy utilization, low-income membership, and/or member

coinsurance; (4) CMS’s denial of payment to PDP sponsors based on a PDP’s actual member

coinsurance or rate of preferred pharmacy utilization; (5) CMS’s process for evaluating preferred

pharmacy utilization by low-income members; (6) CMS’s process for assigning low-income

members to PDPs; (7) relevant CMS instructions for submission of PDP bids; and (8) the third

parties that CMS retained as outside consultants to review the Walmart Plan bids. Touhy

Request at 25-26. As noted above, CMS has refused to provide the requested testimony.

Santella Decl. Ex. D.

       Humana memorialized these disputes in its October 18 Letter and requested that CMS

satisfy all outstanding requests by November 5. Ex. E at 1, 2, 3, 5, 6. Having received no

further productions in response to most of these requests and incomplete responses to others,

Humana has no choice but to seek relief from the Court.

                                      LEGAL STANDARD

       Litigants may obtain relevant, non-privileged discovery from nonparties pursuant to

Federal Rule of Civil Procedure 45. Fed. R. Civ. P. 45; Fed. R. Civ. P. 37(a) (motion to compel

a nonparty to comply with a subpoena “must be made in the court where the discovery is or will

be taken”). Recipients of subpoenas seeking documents or testimony under Rule 45 are required

by law to fully respond to each of the requests. Fed. R. Civ. P. 45(e); see United States ex rel.

Ortiz v. Mount Sinai Hosp., 169 F. Supp. 3d 538, 544 (S.D.N.Y. 2016) (“[W]hile nothing in

Rule 45 prevents a party from serving objections to a non-party subpoena, such objections,

standing alone, have no effect on the nonparty’s obligation to respond to the subpoena.”).


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       Where a federal agency is in noncompliance with a subpoena issued under Rule 45,

district courts balance the interests and rights of the parties by employing the limits on discovery

specified in the Federal Rules of Civil Procedure. Watts v. SEC, 482 F.3d 501, 509 (D.C. Cir.

2007) (quotation omitted). An agency cannot excuse its delay and noncompliance by relying on

its Touhy regulations, which provide a framework for requesting agency documents and

testimony but not an independent basis to withhold discovery. SEC v. Selden, 484 F. Supp. 2d

105, 107 (D.D.C 2007) (“Touhy in no way stands for the proposition that agency regulations alter

the procedures set forth in the Federal Rules of Civil Procedure or that agency regulations can

preclude the production of documents that are relevant to a judicial proceeding.”) (quotation

omitted); In re Shelton Fed. Grp., LLC, 2017 WL 3190558, at *4 (Bankr. D.D.C. July 26, 2017)

(Touhy “does not stand as a separate legal objection to compliance with the subpoena or

justification for quashing, modifying, or limiting any of the subpoena requests.”).

       “Generally speaking, ‘relevance’ for discovery purposes is broadly construed.” Jewish

War Veterans of the United States of America, Inc. v. Gates, 506 F. Supp. 2d 30, 41 (D.D.C.

2007). That legal principle is particularly true where, as here, the court where compliance is

sought has jurisdiction over the discovery dispute but not the underlying action—in which case

this Court should take an especially broad view of relevance. Flanagan v. Wyndham Int’l Inc.,

231 F.R.D. 98, 103 (D.D.C. 2005) (“A court with jurisdiction over a discovery dispute for an

action pending in a different district … should hence be cautious in determining relevance of

evidence, and in case of doubt should err on the side of permissive discovery.”).

                                          ARGUMENT

       Humana has requested relevant documents and testimony from CMS through subpoenas

properly served under Rule 45, to which the agency is legally required to respond.

Notwithstanding Humana’s good-faith efforts to obtain the discovery without judicial


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intervention, CMS has not complied fully with the subpoenas—even though more than five

months have passed since they were served. The subpoenas seek relevant, proportional

discovery of information essential to Humana’s defense, and Humana is entitled to full and

immediate compliance by CMS.

I.     HUMANA’S REQUESTS FOR DOCUMENTS ARE RELEVANT,
       PROPORTIONAL, AND NOT UNDULY BURDENSOME

       A.      Humana’s Subpoena Seeks Relevant Documents Proportional To The Needs
               Of The Case

       Humana’s subpoena seeks documents that are relevant to Relator’s central allegations.

See Fed. R. Civ. P. 26(b). Each of Humana’s outstanding requests seeks documents concerning

CMS’s evaluation of PDP bids and payments to PDP sponsors. See pp. 5-10, supra. For

example, Requests Nos. 2 and 3 seek documents that would show CMS’s reasons for denying

PDP bids, or questioning PDP sponsors, based on the very same assumptions that Relator

contends were misrepresented in Humana’s bids: preferred pharmacy utilization, low-income

membership, and/or member coinsurance. Id. Likewise, Requests No. 11 and No. 12 seek

documents that would clarify why CMS inquires into some differences between a PDP’s actual

experience and the PDP sponsor’s earlier bid assumptions, but not others. Id. Such documents

will be probative of materiality, which is a core element of Relator’s FCA claims in this case.

See Universal Health Servs. v. United States ex rel. Escobar, 136 S. Ct. 1986, 2002-03 (2016)

(FCA liability arises only where challenged misrepresentation was material to government’s

payment decision). This critical evidence will shed light on CMS’s decisions to approve PDP

bids and pay PDP sponsors, and thus bear directly on Relator’s core contention: that CMS would

not have approved Humana’s bids or paid Humana under the Part D contracts had it known that

Humana’s assumptions concerning preferred utilization, low-income membership, and/or

member coinsurance were false. See Compl. ¶¶ 192-94.


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       These narrowly drawn requests are proportional to the needs of the case, as Rule 26

requires. When evaluating proportionality, this Court weighs: “(1) the importance of the issues

at stake in [the] action; (2) the amount in controversy; (3) the parties’ relative access to relevant

information; (4) the parties’ resources’ (5) the importance of the discovery in resolving the

issues; and (6) whether the burden or expense of the proposed discovery outweighs its likely

benefit.” Oxbow Carbon & Minerals LLC v. Union P. R.R. Co., 322 F.R.D. 1, 6 (D.D.C. 2017)

(quotation omitted). Humana’s requests satisfy all six factors. Relator’s action presents

significant issues concerning the liability of PDP sponsors for actuarial assumptions, an integral

part of Medicare Part D’s risk-sharing policy for delivering prescription drug benefits—and he

asserts treble damages totaling more than $1.2 billion. See Compl. ¶¶ 6, 111, 199; Oxbow, 322

F.R.D. at 7 (finding that first factor weighed in favor of discovery where issues at stake would

have broad impacts beyond the parties, and that second factor weighed in favor of discovery

where plaintiff sought $150 million in damages). Humana seeks documents that go to the heart

of Relator’s allegations, and because only CMS possesses information regarding the agency’s

decision-making about the evaluation of Part D bids and payment of PDP sponsors, Humana has

no other means of accessing this evidence. See Oxbow, 322 F.R.D. at 7 (“information

asymmetry” and relevance of information to a central issue weigh in favor of discovery). And as

discussed in more detail below, CMS has not asserted that its noncompliance is due to any

particular burden, much less made an evidentiary showing of undue burden adequate to refuse

compliance with Humana’ subpoena. By contrast, the benefit to Humana of its limited requests

is significant. See, e.g., Buie v. Dist. of Columbia, 327 F.R.D. 1, 11 (D.D.C. 2018) (holding that

challenged request would not impose undue burden when weighed against potential benefit of

allowing movant to obtain the responsive information).




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        B.      Humana’s Requests Do Not Unduly Burden CMS

        CMS cannot show that compliance with Humana’s subpoenas imposes an undue burden

on the agency. See, e.g., Alexander v. FBI, 194 F.R.D. 305, 315 (D.D.C. 2000) (“[I]n order to

support its objection, the [resisting party] must make a specific, detailed showing of the burden

such a search would require.”). At the outset, CMS asserted a boilerplate objection to Humana’s

subpoenas but only to the extent any requests were “vague, ambiguous, overly broad, unduly

burdensome and not proportional to the needs of the case.” See Santella Decl. Ex. L (June 25,

2018 Letter from CMS to D. Leviss). Since that time, the agency has not since argued that its

widespread noncompliance is due to any particular burden. See id. at 1. Moreover, such an

objection, standing alone, does not justify noncompliance. Cf. Ortiz, 169 F. Supp. 3d at 544

(“Where … the objecting party has not made (much less won) a motion to quash or for a

protective order, the subpoena, if otherwise enforceable, remains so, and the non-party ignores

its dictates at some peril.”).

        Even if the Court were to entertain burden arguments at this juncture, it would have to

reject them. Humana’s narrowly drawn requests do not unduly burden CMS, particularly now—

where Humana has allowed CMS five months to comply before seeking relief from the Court.

Contra Fed. R. Civ. P. 45(d)(3)(A)(i) (allowing a court to quash a subpoena failing to allow

reasonable time for compliance). Nor should CMS’s posture as a nonparty allow it to deny

Humana the needed discovery. See Mount Hope Church v. Bash Back!, 705 F.3d 418, 429 (9th

Cir. 2012) (“While we are sensitive to the imposition of large discovery costs on non-parties and

recognize the special need to protect them, we will not read ‘undue burden’ differently just

because a non-party was subpoenaed.”) (citations omitted); SEC v. Fuhlendorf, 2010 WL

3547951, at *3 (D. Colo. Sept. 7, 2010) (“Fed. R. Civ. P. 45 contemplates that third parties may

be subject to some inconvenience in responding to subpoenas. Only demonstrable undue


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inconveniences warrant protection.”). Moreover, this Court requires a specific and detailed

showing of burdensome expense, time, or harm that outweighs any likely benefit of the

discovery. See DL v. Dist. of Columbia, 251 F.R.D. 38, 46 (D.D.C. 2008) (requiring assertions

of burden to contain specific estimates and examples). The absence of any evidentiary showing

of undue burden here affirms Humana’s right to the requested discovery. 2

II.      THE COURT SHOULD COMPEL THE REQUESTED TESTIMONY FROM
         CMS

         Until now, Humana has deferred seeking to enforce its subpoena based on CMS’s

representation that the agency’s forthcoming document production might obviate the need for

any testimony. Because CMS has delayed its full production for many months and because the

fact discovery deadline in this action is just two months from now, Humana can no longer

postpone its efforts to seek additional information through testimony simply based on the

assurance that as-yet unproduced documents will fully answer Humana’s questions. The Court

should therefore compel the deposition of CMS.

         Humana noticed eight relevant, narrowly tailored topics for deposition pursuant to Rules

30(b)(6) and 45. See p. 10, supra. Each topic directly relates to Relator’s allegation that CMS

would not have approved Humana’s bids, or made payments to Humana, had it known that

Humana’s bid assumptions concerning preferred utilization, low-income membership, and/or




2
  By failing to prepare and serve a privilege log, CMS has arguably waived the right to assert the deliberative
process privilege or any other privilege over documents responsive to the subpoena. See, e.g., Lopez v. City of N.Y.,
2007 WL 869590, at *4 (E.D.N.Y. Mar. 20, 2007) (“Based on plaintiff’s repeated failures to submit a proper
privilege log, which required defendant to move twice to compel discovery after plaintiff failed to respond, the
Court finds that plaintiff has waived work product protection.”). At a minimum, however, CMS cannot lawfully
refuse production of responsive documents based on the deliberative process privilege, or any other privilege,
without serving a proper privilege log. In re Apollo Grp. Securities Litig., 2007 WL 778653, at *8 (D.D.C. Mar. 12,
2007) (“To the extent the DOE maintains that it is not required to produce the documents sought in the Amended
Subpoena on the grounds of various privileges, the DOE must comply with its obligations under Federal Rule of
Civil Procedure 45(d)(2) and produce a privilege log that allows Apollo and the Court to assess the validity of the
claimed privileges.”).


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member coinsurance were false. See Compl. ¶¶ 192-94. As with its subpoena for documents,

Humana’s narrowly tailored request for testimony more than satisfies the requirements of

relevance, proportionality, and burden. Fed. R. Civ. P. 26(b).

       CMS cannot meet the higher standard required where it seeks to avoid testimony

altogether, rather than a modification or narrowing of the topics noticed. Where a party claiming

undue burden “seeks to prevent a deposition entirely, [its] burden of proof is particularly great.”

Payne v. Dist. of Columbia, 859 F. Supp. 2d 125, 131 (D.D.C. 2012) (“A court should consider

whether mere modification suffices to satisfy Rule 45, since the quashing of a subpoena is an

extraordinary measure, and is usually inappropriate absent extraordinary circumstances” (internal

citations and internal quotations omitted)).

       Having repeatedly failed to produce the subpoenaed documents in this action, CMS

cannot now rely on the promise of forthcoming productions to avoid subpoenaed testimony it

claims would be duplicative. Although Humana was willing to defer enforcement of its

subpoena for testimony until it could evaluate CMS’s document production for completeness,

only two months remain before fact discovery in the underlying action closes—and Humana can

no longer wait to obtain the responsive testimony it requested from CMS more than five months

ago.

                                         CONCLUSION

       For the forgoing reasons, Humana respectfully requests that the Court enter an order

compelling CMS to comply with Humana’s subpoenas for documents and deposition testimony.




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